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Cynthia A. Bennett

 

 

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Email: basgroupl 9803@yahoo. com

Pro Se P|aintiff

|N THE D|STR|CT COURT OF THE FOURTH jUDlClAL D|STR|CT OF

THE STATE OF lDAHO, lN AND FOR THE COUNTY OF ADA

CynthiaA.Bennett __ GV 01 1904868

Plaintlff, Case No.

dow g /c¢¢`/H~
Wrongful ermination and
Harassment

 

Lowe’s Home Centers, LLC

Defendant

1. ln February 2017 the P|aintiff Cynthia A. Bennett was wrongfully
terminated from Lowe’s Home Centers, LLC store #2573.

2. P|aintiff is suing for compensatory (7 million dollars), general (7 million
dollars), and punitive damages (14 million dollars), for the wrongful termination
and sexua|, physical, verbal, and emotional harassment that she suffered from
March of 2012 to her termination in February of 2017.

3. P|aintiff will allow others who’ve suffered the same or similar harassment
to enjoin this lawsuit as well.

Dated-thi D% day of March. .M M

Cynthia A. Bennett
Wrongfu| Termination and Harassment P- 1

EXH|B|T

5 E)

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CERT|F|CATE OF SERV|CE

l HEREBY CERT|FY That on the Q_Q__day of Marchl 2019 a true and correct copy of the
within and foregoing instrument was served upon:

Lowe's Home Centers, LLC By Mail
1000 Lowe's Bou|evard
Mooresville, NC 28117

Corporation Service Company By Mail
12550 W Explorer Drive Suite 100

Boise, ldaho 83713

(Registered Agent)

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Cynthia A. Bennett l l L’°'\'/; k ` M

Wrongful Terminatlon and Harassment P-2

